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1                                         UNITED STATES DISTRICT COURT

2                                             DISTRICT OF NEVADA

3                                                        ***

4

5     UNITED STATES OF AMERICA,

6                            Plaintiff,                     2:13-cr-00185-MMD-VCF
                                                            ORDER
7     vs.

8     ROBERT C. BARROW, true name Robert C.
      Barrows, Sr.,
9
                              Defendant.
10
               Before the court are the Motion to Dismiss Attorney (#166) and Motion to Withdraw as Attorney
11
     (#168).
12
               IT IS HEREBY ORDERED that the hearing, on the Motion to Dismiss Attorney (#166) and
13
     Motion to Withdraw as Attorney (#168), scheduled for 1:30 p.m., February 4, 2016 is advanced to 11:00
14
     a.m., February 4, 2016.
15
               The U.S. Marshal is directed to transport Defendant Robert Barrows to and from the hearing.
16
               DATED this 29th day of January, 2016.
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                                                                  CAM FERENBACH
                                                                  UNITED STATES MAGISTRATE JUDGE
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